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 10
      Co-Counsel for The Huntington Beach Gables Homeowners Association
 11
 12                           UNITED STATES BANKRUPTCY COURT
 13              CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION
 14
 15   In re:
                                                       Case No. 8:21-bk-11710-ES
 16   JAMIE LYNN GALLIAN,
                                                       Chapter 7
 17                                                    Adv. No. 8:21-ap-01095-ES
                    Debtor.
 18
                                                       MOTION TO CONTINUE PRE-TRIAL
 19                                                    CONFERENCE AND OTHER DATES;
                                                       DECLARATION OF ROBERT P. GOE
 20                                                    IN SUPPORT THEREOF
 21                                                    Current Pre-Trial Conference
      THE HUNTINGTON BEACH GABLES
 22   HOMEOWNERS ASSOCIATION, a California             Hearing Date: July 14, 2022
      nonprofit mutual benefit corporation,            Time:          9:30 a.m.
 23                 Plaintiff,                         Courtroom: 5A

 24   vs.                                              New Pre-Trial Conference
      JAMIE L GALLIAN, an individual; RANDALL          Hearing Date: TBD
 25   L NICKEL, an individual, and DOES 1 through      Time:          9:30 a.m.
      100, inclusive,                                  Courtroom:     5A
 26
                    Defendants.
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  1          TO THE HONORABLE ERITHE A. SMITH, UNITED STATES BANKRUPTCY
  2   JUDGE, AND ALL PARTIES ENTITLED TO NOTICE:
  3          This Motion to Continue Pre-Trial Conference and Other Dates (the “Motion”) is filed by
  4   Plaintiff, The Huntington Beach Gables Homeowners Association (“Plaintiff”). This Motion is
  5   made with reference to the following recitals:
  6                                              RECITALS
  7          1.      On or about July 9, 2021, Jamie Lynn Gallian (“Debtor”) filed a voluntary
  8   petition under Chapter 7 of the Bankruptcy Code.
  9          2.      Plaintiff has filed a complaint (the “Complaint”) initiating the above captioned
 10   adversary proceeding on October 18, 2021 (the “Adversary Proceeding”).
 11          3.      The Adversary Proceeding was commenced pursuant to Rules 7001(4) and (6) of
 12   the Federal Rules of Bankruptcy Procedure and 11 U.S.C. §§ 523(a)(2)(A) and (a)(6) and
 13   727(a)(2)(A), (a)(4), and (a)(5).
 14          4.      On October 28, 2021, Debtor filed her answer to the Complaint [Docket No. 4].
 15          5.      On October 28, 2021, Debtor filed multiple amended answers to the Complaint
 16   [Docket Nos. 5, 6, and 7].
 17          6.      Plaintiff submits there are strong grounds for the Complaint, but as there are other
 18   presently pending actions to deny Debtor’s discharge pursuant to Section 727 (See Houser
 19   Brothers v. Gallian; Adv. 8:21-ap-01097-ES), Plaintiff has agreed to dismiss this Adversary
 20   Proceeding with each party to bear its own attorneys’ fees and costs. Plaintiff will need to
 21   provide notice as required in FRBP 7841.
 22          7.      Co-Counsel, Michael Poole, contacted Debtor concerning continuing the hearing
 23   and did not receive a return call.
 24          8.      In the interest of efficiency for all parties and the Court, Plaintiff requests

 25   continuance of the pre-trial conference for sixty (60) days or as the Court deems appropriate to

 26   allow it to seek dismissal of the Adversary Proceeding.

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  1          WHEREFORE, based on the foregoing recitals, Plaintiff requests the hearing on the Pre-

  2   Trial Conference to be continued for sixty (60) days or as the Court deems appropriate.

  3
      Dated: July 8, 2022                                 Respectfully submitted,
  4
  5                                                       GOE FORSYTHE & HODGES, LLP

  6
                                                          By: /s/ Robert P. Goe
  7                                                            Robert P. Goe
                                                               Brandon J. Iskander
  8                                                            Attorneys for Huntington Beach Gables
                                                               Homeowners Association
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  1                                 DECLARATION OF ROBERT P. GOE

  2   I, Robert P. Goe, declare as follows:

  3          I am a partner of Goe Forsythe & Hodges, LLP, counsel for plaintiff The Huntington

  4   Beach Gables Homeowners Association (“Plaintiff”). I have personal knowledge of the facts

  5   alleged herein and if called upon as a witness I could and would competently testify thereto. This

  6   declaration is in support of the Motion to Continue the Pre-Trial Conference (the “Motion”).

  7          1.      On or about July 9, 2021, Jamie Lynn Gallian (“Debtor”) filed a voluntary petition

  8   under Chapter 7 of the Bankruptcy Code.
             2.      Plaintiff has filed a complaint (the “Complaint”) initiating the above captioned
  9
      adversary proceeding on October 18, 2021 (the “Adversary Proceeding”).
 10
             3.      The Adversary Proceeding was commenced pursuant to Rules 7001(4) and (6) of
 11
      the Federal Rules of Bankruptcy Procedure and 11 U.S.C. §§ 523(a)(2)(A) and (a)(6) and
 12
      727(a)(2)(A), (a)(4), and (a)(5).
 13
             4.      On October 28, 2021, Debtor filed her answer to the Complaint [Docket No. 4].
 14
             5.      On October 28, 2021, Debtor filed multiple amended answers to the Complaint
 15
      [Docket Nos. 5, 6, and 7].
 16
             6.      Plaintiff submits there are strong grounds for the Complaint, but as there are other
 17
      presently pending actions to deny Debtor’s discharge pursuant to Section 727 (See Houser
 18
      Brothers v. Gallian; Adv. 8:21-ap-01097-ES), Plaintiff has agreed to dismiss this Adversary
 19
      Proceeding with each party to bear its own attorneys’ fees and costs. Plaintiff will need to provide
 20
      notice as required in FRBP 7841.
 21
             7.      Co-Counsel, Michael Poole, contacted Debtor concerning continuing the hearing
 22
      and did not receive a return call.
 23
             8.         I declare under penalty of perjury under the laws of the United States of America
 24   that all of the foregoing is true and correct. Executed this 8th day of July 2022 at Irvine, California.
 25
 26                                           By:/s/Robert P. Goe
                                                   Robert P. Goe
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  1                              PROOF OF SERVICE OF DOCUMENT
  2   I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
      address is: 18101 Von Karman Avenue, Suite 1200, Irvine, CA 92612
  3   A true and correct copy of the foregoing document entitled (specify): MOTION TO CONTINUE PRE-
      TRIAL CONFERENCE AND OTHER DATES will be served or was served (a) on the judge in chambers
  4   in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

  5   1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
      controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
  6   hyperlink to the document. On (date) July 8, 2022, I checked the CM/ECF docket for this bankruptcy case
      or adversary proceeding and determined that the following persons are on the Electronic Mail Notice List to
  7   receive NEF transmission at the email addresses stated below:

  8          Robert P Goe kmurphy@goeforlaw.com, rgoe@goeforlaw.com;goeforecf@gmail.com
             Jeffrey I Golden (TR) lwerner@wgllp.com, jig@trustesolutions.net;kadele@wgllp.com
  9          Brandon J Iskander biskander@goeforlaw.com, kmurphy@goeforlaw.com
             Mark A Mellor mail@mellorlawfirm.com, mellormr79158@notify.bestcase.com
 10          United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov

 11   2. SERVED BY UNITED STATES MAIL:
      On (date) July 8, 2022, I served the following persons and/or entities at the last known addresses in this
 12   bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope
      in the United States mail, first class, postage prepaid, and addressed as follows: Listing the judge here
      constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the
 13   document is filed.
 14     Jamie Lynn Gallian                                      Michael D Poole
        16222 Monterey Ln Unit 376                              Feldsott & Lee
 15     Huntington Beach, CA 92649                              23161 Mill Creek Dr Ste 300
                                                                Laguna Hills, CA 92653
 16
      3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL:
 17   (state the method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on
      (date) July 8, 2022, I served the following persons and/or entities by personal delivery, overnight mail
 18   service, or (for those who consented in writing to such service method), by facsimile transmission and/or
      email as follows: Listing the judge here constitutes a declaration that personal delivery on, or overnight
 19   mail to, the judge will be completed no later than 24 hours after the document is filed.

 20        The Honorable Erithe A. Smith, USBC, 411 West Fourth Street, Santa Ana, CA 92701
             (SUSPENDED DUE TO COVID-19 PROTOCOLS)
 21
      I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.
 22
       July 8, 2022           Susan C. Stein                                 /s/Susan C. Stein
 23    Date                    Printed Name                                  Signature

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